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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES, et al.,                 )
                                       )
         Plaintiffs,                   )         Nos. 03-785L, 04-1456L, 04-
                                       )         1457L, 04-1458L, 04-1459L,
 v.                                    )         04-1463L, 04-1465L, 04-
                                       )         1466L, 04-1467L, 04-1468L,
 UNITED STATES,                        )         04-1469L, 04-1471L, 04-
                                       )         1472L, 04-1473L, 04-1474L
         Defendant.                    )
                                       )         The Honorable Marian Blank Horn
                                       )
                                       )



                  DECLARATION OF CAROLYN ROSSI



   I, Carolyn Rossi, make the following declaration:

   1. I am a United States citizen, a resident of the State of Washington, over the

age of twenty-one, have personal knowledge of the facts stated herein and am

competent to testify to the matters stated in this Declaration.

   2. I and my husband John Rossi are Plaintiffs in this case. We purchased our

property along East Lake Sammamish in 1983.

   3. Since the 1983, we have used the area of the railroad right of way that lies

west of the railroad tracks "rail bed" as if it were our own. Attached hereto as

Exhibit A is a true and correct copy of two photographs. The bottom photograph was

taken in 1985 and shows the installation of our basketball hoop. After we purchased

the property and before we installed the hoop, we placed asphalt on the southern

two thirds of the western half of the railroad right of way for the basketball play

Declaration of Carolyn Rossi 1                                            Ex. 6-1
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area. The asphalt basketball court area was used by my family and neighbors on

almost a daily occurrence from 1983 to the present.

   4. In the northern third of the western half of the railroad right of way, we had
a vegetable and flower garden. The upper picture in Exhibit A is a picture of my

daughter and my mother in amongst pea plants. This picture was taken 1988.

However, we used this area for a vegetable and flower garden from 1983 to this day

   5. Attached hereto as Exhibit B is a true and correct copy of four photographs

showing the western half of the railroad right of way. Two pictures show a

Burlington Northern train passing by. The picture with the basketball hoop was

taken in 1991 and the picture below of my two daughters and a neighbor in the

garden areâ was taken in 1996. The handwriting on Exhibit B is mine.

   6. Attached hereto as Exhibit C is a true and correct copy of a photograph that
was taken in 2OI7 which basically shows the present use of western half of the

railroad right of way. On the left hand side, the gate to the garden area is depicted.

The fence and gate was built in about 2OI3, but the garden area that has existed

since 1983. The trees in the background were all planted by my husband and I in

1994. We always had them trimmed and thinned, removed leaves and weeded the

tree area.

   7. I have seen the schematic produced by ESM Engineers, which is attached
hereto as Exhibit D. This accurately depicts the area I and my family have used

during the period from the early 1980s to the present time. The area in both green




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and gray in between the areas marked A and D is larger gravel for a pathway and

to provide drainage from the basketball court area

   8. Basically, we have used the entire western side of the railroad right of way as
it were our own since 1983. No one has ever indicated that we did not own the

railroad right of way or that someone else owned it. Our regular use of this area

has been visible to anyone who may have thought they owned it.


      I declare under penalty of perjury under the laws of the State of Washington

that the foregoing is true and correct and was executed by me this 29th day of

January, 2018, at Bellevue, ïV'ashington

                                                               Þrf4¿/

                                           Carolyn Rossi




Declaration of Carolyn Rossi 3                                               Ex. 6-3
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                                                                  Ex. 6A
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                                                                                            Ex. 6B
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G:ESMJ OBS\1991



 A) lnstalled and used vegetable garden.
 B) Planted landscaping as a buffer from the train tracks.
 C) Basketball hoop installed after surface was paved.
 D) Park ing spaces on gravel/grass, then paved




   E5M                             Stephens & Klinge LLP
                                    E Lake Sammamish ROW




                                                                                  Ex. 6D-1
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